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                            EXHIBIT 54




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                                                                                    SFUND RECORDS CTR
                 f       ,i   s*    j.                                                   1654-04518
                 South Coast
                 AIR QUALITY MANAGEMENT DISTRICT                                        AR2519
                 9150 FLAIR DRIVE, EL MONTE, CA 91731        (818) 572-6200
                                                                         September 24,1991
     Mr. John Blevins                                                          .
     Section Chief                                                ^                SFUND RECORDS CTR
     U.S. Environmental Protection Agency                                             88103063
     Region IX
     75 Hawthorne Street
     San Francisco, California 94105
     Dear Mr. Blevins:
     Thank you for providing us with a copy of EPA's cost estimates that were developed
     for off-site incineration of the McColl Waste, as detailed in EPA's letter dated
     August 2,1991 (copy attached).
     For remediation of Superfund sites, the Superfund program has established a
     methodology to evaluate potential remedial options. As pointed out in the attached
     EPA's letter, one of the actions contemplated by the National Contingency Plan
     (NCP) is the screening process of remedial alternatives during the formulation
     stage. EPA has performed an evaluation of the three criteria (effectiveness,
     implementability and cost) required for the screening of remedial alternatives, and
     has determined that effectiveness and implementability of the on-site and off-site
     incineration alternatives are similar, if not the same. It is then stated that, since the
     estimated cost of off-site incineration is significantly higher ($l,200/ton for off-site
     incineration versus $150/ton for on-site incineration), it is appropriate to screen out
     the off-site incineration alternative from further consideration pursuant to NCP
     Section 300.430 e7(iii). As a result, EPA has made the determination that off-site
     incineration will no longer be considered as a viable alternative for the remediation
     of the McColl Site.
    The South Coast Air Quality Manangement District (District) does not concur with
    your determination and feels that deletion of the off-site incineration alternative
    from further consideration, based on the analysis in the attached letter, is not
    appropriate. As stated in Chapter 4 (Development and Screening of Alternatives)
    of EPA's document titled "Guidance for Conducting Remedial Investigations and
    Feasibility Studies Under CERCLA, EPA/540/G-89/004, October 1988", a key
    aspect of the screening evaluation is the effectiveness of each alternative in
    protecting human health and the environment. Each alternative should be
    evaluated as to its effectiveness in providing protection and the reductions in
    toxicity, mobility, or volume that it will achieve. One of the areas that this
    effectiveness evaluation should focus on is the potential impacts to human health
    and the environment during the construction and implementation phase.
    As you are aware, the South Coast Air Basin has the worst air quality in the nation
    and is not in compliance with the federal ambient air quality standards for ozone,
    carbon monoxide (CO), fine particulate matter (PM10) and nitrogen oxide (NOo).
    The maximum ozone concentrations in this basin reach about three times the
    federal standards. CO and PM10 reach maximum levels of twice the federal
    standards. The South Coast Air Basin is the only area in the nation that still fails to
    meet the federal NO2 standard. Furthermore, the McColl site is located in a
    residential area with very close proximity to family homes. On-site incineration will


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     U.S. Environmental                          2                      September 24,1991
     Protection Agency




     not only worsen the already heavily polluted air in the South Coast Air Basin, but
     may also result in significant potential health impacts to the public in this heavily
     populated residential area. Since off-site incineration would be located in less
     polluted and less populated areas, the potential environmental and public health
     impacts would be less significant. Therefore, the effectiveness of these two
     alternatives are not similar.
     Furthermore, the District feels that the cost for on-site incineration ($150/ton) has
     been substantially under-estimated. The District has the most stringent air pollution
     control requirements in the nation under BACT/LAER and Toxics BACT (T-
     BACT). The cost of air pollution control equipment required to comply with the
     stringent air quality standards in the District would result in much higher 'costs than
     for off-site locations. In order to better compare the cost of on-site versus off-site
     incineration, a revised and more detailed cost analysis should be considered which
     includes the higher cost of compliance with the District requirements. In addition,
     the Rotary Kiln technology has not been permitted to operate in the South Coast
     Air Basin and it has not beenjJemonstrated that it can comply with the District
     stringent requirements. The last incinerator proposed for an on-site trial burn at
     McColl was the Ogden Circulating Bed Combustor. This unit, although proposed to
     be equipped with advanced air pollution control equipment, still could not
     demonstrate compliance with our BACT requirements. Since off-site incineration
     would be outside the South Coast Air Basin, it is more likely that the incinerator
     used could meet the less stringent requirements compared to the more stringent
     District's requirements. Therefore, the implementability of the on-site and off-site
     incinerators are also not similar.
     Since the effectiveness and implementability of these two alternatives are not the
     same, then the District does not concur with EPA's determination to delete the off-
     site incineration alternative at this stage.
     If you have any questions regarding this matter, please contact Mr. Brian Yeh at
     (818) 307-3536 or Ted Kowalczyk at (818) 572-6186.
                                                         Very truly yours,

                                                                             ^-—-
                                                         Mohsen Nazemi
                                                         Senior Engineering Manager

     TK:mcolltr2
     Attachment
     cc:   Ed Camarena
           Bill Fray
           Nick Nikkila
           Brian Yeh
           LAC Members


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                   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                       REGION IX
                                  75 Hawthorne Street
                                San Francisco, Ca. 94105

    0 2 AUG 1991


   Dear IAC Member:
        Enclosed are some cost estimates that EPA developed for off-
   site incineration of the McColl waste. These estimates consider
   total waste excavation, on-site storage, tarry waste treatment,
   off-site transport, and off-site incineration for the following
   two potential treatment facilities:
         1) Rollins Environmental Services, Deer Park, Texas
         2)   Chem Waste Management, Kettleman Hills, California
        It should be noted that the Deer Park facility is the
   closest operating commercial incinerator of sufficient size that
   could handle the volume of McColl wastes. Chemical Waste
   Management has applied for permits to construct a commercial
   hazardous waste incinerator at Kettleman Hills. The construction
   of this facility has not been approved to date; however, Chemical
   Waste Management, Inc. has indicated that.an operational
   incinerator at Kettleman Hills is anticipated by the first
   quarter of 1993, and that the project is on track and that the
   incinerator "in all likelihood will be built." For this reason,
   cost estimates were developed for the Kettleman Hills facility
   assuming the incinerator will be on line in 1993.
        Some simple assumptions were made to allow the cost
   estimation to occur. The assumptions are as follows:
         1) Rotary kiln incineration was chosen as the
            representative technology type
         2) Excavation under an enclosure would occur as detailed
            in the SITE applications analysis report
         3) Both the tar and char would need to be pretreated
            on-site prior to shipment off-site
         4) The waste material would be shipped off-site via trucks
         5) Ash disposal would be undertaken by incineration company
         6) Incineration capacity is nominally 100 tons/day
         7) Bid and scope contingencies were estimated at 12%

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         8) Costs were assumed to escalate at 5% per year
         9) Incineration costs are estimated at 60 cents/Ib
       Based on the above assumptions, the costs (in millions) for
  the two facilities are as follows:

                         DEER PARK,TX                 KETTLEMAN HILLS, CA

  EXCAVATION AND
  STORAGE                      62                                 62

 TAR TREATMENT                  5                                  5

  CHAR TREATMENT               16                                 16

 TRANSPORTATION                85                                 12

 INCINERATION AND
 ASH DISPOSAL                 392                                392



 TOTAL                      $ 560                            $ 487
 CONTINGENCIES                 67                                 58

 TOTAL PLUS
 CONTINGENCIES            $ 627                              $ 545
 TOTAL COST WITH
 5% PER YEAR
 ESCALATION               $ 800                              $ 696

 REMEDIAL                 6 years                           6 years
 OPERATIONS        (based on 100 tons/day)        (based on 100 tons/day)
 TIMEFRAME
      One of the actions contemplated by the National Contingency
 Plan (NCP) is the screening of remedial alternatives during the
 formulation stage. The NCP details three criteria by which
 alternatives should be evaluated during screening. These
 criteria are effectiveness, implementability and cost. If an
 alternative can not pass one of these screening criteria, then it
 should be eliminated from further consideration.
      The language contained in the NCP {section 300.430 e7(iii)}
 related to the cost criteriom reads as follows:




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            "... Alternatives providing effectiveness and
  implementability similar to that of another alternative by
  employing a similar method of treatment or engineering control,
  but at greater cost, may be eliminated."
       When comparing the on- versus off-site thermal destruction
  (using rotary kiln incineration as the example) alternatives with
  the screening criteria as a guide, EPA has made a determination
  that off-site thermal destruction will no longer be considered a
  viable alternative for the remediation of the McColl site. If
  you look at the effectiveness of the two alternatives, they are
  similar, if not the same, in that all of the hazardous material
  at the site will be permanently removed. When examining the
  implementability criterion the alternatives are similar. Both
  alternatives will be difficult to implement. Implementation of
  on-site thermal destruction will be difficult due to air
  emissions.   Implementation of off-site thermal destruction will
  be difficult due to air emissions and transportation concerns.
  Therefore with the effectiveness and implementability of these
  two options not being significantly different, and the estimated
  cost of off-site thermal destruction being considerable higher,
  it is appropriate to screen out off-site thermal destruction froir
  further consideration.
       The final estimated cost of on-site thermal destruction has
  not been calculated, but EPA is confident (due to the fact that
  processing costs for off-site incineration are being quoted at
  $1200/ton while on-site costs are being quoted at $150/ton) that
  it will not approach the 700 to 800 million dollar cost estimated
  for off-site thermal destruction.
       If you have any questions or would like to discuss our
  decision on this issue, feel free to call us at (415) 744-2242 or
  (415) 744-2243, respectively.
                                           Sincerely,

                                               Wieman, Pro>ttct Manager
                                           McColl/Suoerf uftdr Sj^e

                                                                   Manager
                                                  Superfund Site
  cc:   D. Jones, EPA
        J. Blevins, EPA
        David Bushey
        Adam Ng, ICF
        Bill Duchie, MSG
        McColl Repository



                                     Exhibit 54
                                       6753
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                                                      McColl IAC Distribution List

       NAME                   TITLE                     COMPANY                          ADDRESS                         CITY         STATE    ZIP

 Mr.   Barry Eaton          Chief   Planner         City of Fullerton                  303 W. Commonwealth Ave.          Fullerton     CA     92632
 Mr.   Chris Meyer          Asst.   City Manager    City of Fullerton                  303 W. Commonwealth Ave.          Fullerton     CA     92632
 Mr.   Frank Hamamura       Dist.   Engineer        DHS, Public Water Supply Branch    28 Civic Center Plaza. Rm. 275    Santa Ana     CA     92701
Hon.   William Dannemeyer   Attn:    Brett Barbre                                      1235 N. Harbor Blvd., Suite 100   Ful lerton   'CA     92632
 Mr.   Ken Williams                               CRWQCB, Santa Ana                    6809 Indiana Ave., Suite 200      Riverside     CA     92506
 Mr.   Kurt Berchtold                             CRWQCB, Santa Ana                    6809 Indiana Ave., Suite 200      Riverside     CA     92506
 Mr.   Mark Leary                                 DHS - Stringfellow/McColl            714/744 P St., P.O. Box 942732    Sacramento    CA     94234-7320
 Mr.   Nabil S. Henein                            City of Buena Park, Env. Svs.        6650 Beach Blvd.                  Buena Park    CA     90620
 Ms.   Patricia Henshaw     Haz. Waste Specialist Dept. of Env. Health, Orange Co.     P.O. Box 355                      Santa Ana     CA     92702
 Mr.   Robert Merrynan      Director              Dept. of Health, Orange Co.          P.O. Box 355                      Santa Ana     CA     92702
 Mr.   Robert Allen                               Orange Co. Env. Health               P.O. Box 355                      Santa ana     CA     92702
 Mr.   Steve Gaytan                               DHS - Special Projects               714/744 P St.. P.O. Box 942732    Sacramento    CA     94234-7320
 Mr.   Ted Commerdinger     Assc Planner          City of Fullerton                    303 W. Commonwealth Ave.          Fullerton     CA     92632
 Mr.   Ted Kowalczyk                              South Coast Air Quality Mgnrt Dist   9150 Flair Drive                  El Monte      CA     91731
 Ms.   Mohsen Nazemi        Engineering Division South Coase Air Quality Mgnrt Dist    9150 Flair Drive                  El Monte      CA     91732
 Mr.   WilliamM. Draper                           DHS - Stringfellow/McColl            714/744 P St., P.O. Box 942732    Sacramento    CA     94234-2913
 Mr.   William Vance                              DHS/Hazardous Waste Toxics Sect.     714 P Street                      Sacramento    CA     95814
 Ms.   Caroline Rudolph                           DHS/TSCP Special Projects            714/744 P St., Sox 942732         Sacramento    CA     94234-7320
 Mr.   Ed Pupka             Air Toxics Ctrl Brch South'Coast Air Quality Mgnt. Dist    9150 Flair Drive                  El Monte      CA     91731




                                                                      Exhibit 54
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